       Case 1:18-cv-06936
       Case 1:24-cv-04108-ALC   Document
                           Document       3-32
                                    1 Filed      Filed Page
                                            12/05/18   05/30/24
                                                            1 of 31Page 1 of#:311
                                                                    PageID



                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
ISAAC LEVY,
                                                                     Case No.: _______________
                                    Plaintiff,
                  -against-

PLATINUM FINANCIAL SERVICES CORP. LLC,
SELIP & STYLIANOU, LLP f/k/a COHEN & SLAMOWITZ, LLP,
CAPITAL PROCESS SERVERS, INC.,
GERALD K. MURRAY,
PALISADES COLLECTIONS, LLC
HOUSLANGER & ASSOCIATES, PLLC, and
TODD HOUSLANGER
-------------------------------------------------------------------X
                          ORIGINAL COMPLAINT AND JURY DEMAND

         Plaintiff Isaac Levy brings suit against a debt collection law firm, HOUSLANGER &

ASSOCIATES, PLLC (the “PLLC”), as well as its principal, TODD HOUSLANGER,

(collectively “Houslanger”), another debt collection law firm, SELIP & SYLIANOU, LLP, the

putative judgment creditor PLATINUM FINANCIAL SERVICES CORP. LLC and its putative

assignee, PALISADES COLLECTIONS, LLC for their violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq., N.Y. Gen. Bus. Law § 349 and for conversion; against

process server company CAPITAL PROCESS SERVERS, INC. and its agent GERALD K.

MURRAY for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. and

N.Y. Gen. Bus. Law § 349; and against the PLLC, Mr. Houslanger, and S&S for their violations

of N.Y. Jud. § 487.

                                               Summary of Claims 1




1 This summary is not intended to limit the basis of Plaintiff’s claims as the full factual basis for the claims are laid
out in far greater detail in the statement of facts.

                                                            1
      Case 1:18-cv-06936
      Case 1:24-cv-04108-ALC   Document
                          Document       3-32
                                   1 Filed      Filed Page
                                           12/05/18   05/30/24
                                                           2 of 31Page 2 of#:312
                                                                   PageID



        Plaintiff Isaac Levy brings suits against Defendants for violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (the FDCPA), New York General Business

Law § 349 (“GBL 349), New York Judiciary Law § 489, and/for conversion.

        This action involves two set of claims: the first for fraudulently obtaining a default

judgment in state court, and the second for impermissible acts in connection with the collection

of that judgment.

        The first sets of claims are against a debt buyer PLATINUM FINANCIAL SERVICES

CORP. LLC (“Platinum”), its debt collection law firm SELIP & STYLIANOU, LLP f/k/a

COHEN & SLAMOWITZ, LLP (“SS”), their chosen process serving company, CAPITAL

PROCESS SERVERS, INC., and the individual process server GERALD K. MURRAY

(collectively “CPS”) for fraudulently obtaining a default judgment in a state court collection

lawsuit against Mr. Levy by using a false affidavit of service, commonly known as “sewer

service.” 2 In doing so, Platinum, SS, and CPS violated the FDCPA and GBL 349, and SS

violated Judiciary Law 489.

        The second sets of claims are against PALISADES COLLECTIONS, LLC (“Palisades”),

a putative assignee of the default judgment, its debt collection law firm HOUSLANGER &

ASSOCIATES, PLLC (the “PLLC”), and the principal of the firm, TODD HOUSLANGER (Mr.

Houslanger” (collectively “Houslanger”), for attempting to collect on a putative assigned

judgment without 1) having a notice of assignment of the judgment sent to or received by Mr.


2 “Plaintiffs allege that defendants did so by engaging in “sewer service”—the practice of failing to serve
a summons and complaint and then filing a fraudulent affidavit attesting to service. When the debtors
failed to appear in court because they did not have notice of the lawsuits, defendants obtained default
judgments against them.” Sykes v. Mel Harris & Assocs., LLC, 757 F. Supp. 2d 413, 418 (S.D.N.Y.
2010).

                                                    2
     Case 1:18-cv-06936
     Case 1:24-cv-04108-ALC   Document
                         Document       3-32
                                  1 Filed      Filed Page
                                          12/05/18   05/30/24
                                                          3 of 31Page 3 of#:313
                                                                  PageID



Levy; 2) having an attorney meaningfully involved in the collection of the account to determine

whether a notice of assignment had been sent; 3) sending Mr. Levy a notice required by § 1692g

of the FDCPA to allow Mr. Levy to dispute the debt and stay collection proceedings until the

debt was verified; 4) restraining a bank account based on a judgment obtained by a false affidavit

of service; 5) continuing to oppose an Order to Show Cause to despite overwhelming evidence

the judgment was obtained by sewer service; and 6) attempting to dupe and then force Mr. Levy

to sign a release of claims as a condition of vacating a known sewer service judgment. For these

reasons Palisades and Houslanger violated the FDCPA, GBL 349, and committed conversion;

and Houslanger violated Judiciary Law 489.

                           A.   JURISDICTION AND VENUE

1.     The Court has federal question jurisdiction over the lawsuit because the action arises

under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq., (“FDCPA”). Jurisdiction

of the Court arises under 28 U.S.C. § 1331 in that this dispute involves predominant issues of

federal law under the FDCPA. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and

2202. The Court has supplemental jurisdiction under 28 U.S.C. §1367 over Plaintiff’s state law

claims because said claims are so related to the claims within the Court’s original jurisdiction

that they form part of the same case or controversy under Article III of the United States

Constitution.

2.     Venue in this District is proper because all or a substantial part of the events or omissions

giving rise to their claims occurred in Queens County, New York.

                           B.   PARTIES

3.     Plaintiff Isaac Levy is an individual residing in Kings County, New York.
                                                3
     Case 1:18-cv-06936
     Case 1:24-cv-04108-ALC   Document
                         Document       3-32
                                  1 Filed      Filed Page
                                          12/05/18   05/30/24
                                                          4 of 31Page 4 of#:314
                                                                  PageID



4.      Defendant PLATINUM FINANCIAL SERVICES CORP. LLC (“Platinum”) is a foreign

corporation incorporated in the State of Delaware. Platinum regularly conducts business in the

State of New York and this action arises from such conduct.

5.      Defendant Platinum purchases charged-off putative consumer debts and seeks to collect

on the putative debts directly and through debt collection law firms such as Defendant Selip &

Stylianou. The collection law firms send collection letters, file collection lawsuits, and execute

on putative judgments on behalf of Platinum. Platinum does so regularly, and that is its principal

purpose. Platinum is therefore a debt collector within the meaning of 15 U.S.C. § 1692a(6).

6.      Defendant SELIP & STYLIANOU, LLP f/k/a COHEN & SLAMOWITZ (“SS”) is a

New York debt collection law firm that has its principle place of business in Woodbury, New

York.

7.      SS regularly collects or attempts to collect, directly or indirectly, debts owed, or due or

asserted to be due another by filing thousands of collection lawsuits, collecting on thousands of

putative judgments, and sending thousands of collection letters. Selip & Stylianou, is therefore a

debt collector within the meaning of 15 U.S.C. § 1692a(6).


8.      SS was an agent of Platinum acting within the course and scope of its agency in seeking

to collect the putative debt from Mr. Levy. Therefore, Platinum is jointly and severally liable for

the acts taken by SS on Platinum’s’ behalf. Platinum is also directly liable for its own

misconduct as the party in the collection lawsuit.


9.      Defendant CAPITAL PROCESS SERVERS, INC. (“CPS, Inc.”) is a process serving

agency organized under the laws of the State of New York. CPS, Inc. regularly fails to serve

summons and complaints and regularly executes false affidavits of service allowing the entry of
                                            4
      Case 1:18-cv-06936
      Case 1:24-cv-04108-ALC   Document
                          Document       3-32
                                   1 Filed      Filed Page
                                           12/05/18   05/30/24
                                                           5 of 31Page 5 of#:315
                                                                   PageID



default judgments against putative debtors. CPS Inc. is therefore a debt collector within the

meaning of 15 U.S.C. § 1692a(6).

10.       Defendant GERALD MURRAY was the process server working for CPS, Inc. who

executed the false affidavit of service contending, inter alia, he served the collection lawsuit on

“a Jane Doe Cotenant” at an address Mr. Levy had not lived in for four years. Mr. Murray is a

notorious sewer service process server whose license was suspended by the New York City

Department of Consumer Affairs. Mr. Murray regularly failed to serve summons and complaints

and regularly executed false affidavits of service allowing debt collectors, including Houslanger,

to enter default judgments against consumers such as Mr. Levy. Mr. Murray is therefore a debt

collector as defined by 15 U.S.C. § 1692a(6).

11.       CPS, Inc. and Murray are collectively “CPS.”

12.       CPS was an agent of Platinum and SS acting within the course and scope of its agency in

seeking to collect the putative debt from Mr. Levy by (falsely) claiming it had served Mr. Levy.

Therefore, Platinum and SS is jointly and severally liable for the acts taken by CPS in their

behalf.

13.       In the case at bar, Platinum, through SS, filed the collection lawsuit against Mr. Levy

alleging it was the assignee of a consumer debt to be owed by Mr. Levy. Platinum and SS used a

false affidavit of service executed by CPS to enter a sewer service default judgment against Mr.

Levy. Platinum is also directly liable for its own misconduct as the putative judgment creditor

assignee.

14.       PALISADES COLLECTIONS, LLC (“Palisades”) is a foreign corporation incorporated

in the State of Delaware, with a principle place of business of 210 Sylvan Avenue, Eaglewood

                                                 5
      Case 1:18-cv-06936
      Case 1:24-cv-04108-ALC   Document
                          Document       3-32
                                   1 Filed      Filed Page
                                           12/05/18   05/30/24
                                                           6 of 31Page 6 of#:316
                                                                   PageID



Cliffs, New Jersey 07632. Palisades regularly conducts business in the State of New York and

this action arises from such conduct.

15.    Defendant Palisades purchases charged-off putative consumer debts and existing

judgments, and seeks to collect on the putative debts directly and through debt collection law

firms such as Houslanger. The collection law firms send collection letters, file collection

lawsuits, and execute on putative judgments on behalf of Palisades. Palisades does so regularly,

and that is its principal purpose. Palisades is therefore a debt collector within the meaning of 15

U.S.C. § 1692a(6).

16.    Defendant HOUSLANGER & ASSOCIATES, PLLC (“the PLLC”) is a professional

corporation organized and existing under the laws of the State of New York, with its principal place

of business at 372 New York Ave., Huntington, NY 11743.

17.    Defendant TODD HOUSLANGER is the principal and sole member of the PLLC and, on

information and belief, organizes, manages, and controls the operation of the PLLC. Mr.

Houslanger, on information and belief, is a resident of the State of New York.

18.    The PLLC and Mr. Houslanger are collectively “Houslanger.”

19.    The PLLC and Mr. Houslanger regularly collect or attempt to collect, directly or

indirectly, debts owed, or due or asserted to be due another, and that is their principal purpose.

The PLLC collects debts by filing thousands of collection lawsuits, collecting on thousands of

putative judgments, and sending thousands of collection letters, and that is their principle purpose,

and it is what it regularly does. Many, if not most of the summons and complaints filed by the

PLLC, as well as the income executions, information subpoenas, and bank restraints go out

under the putative signature of Mr. Houslanger. Therefore, the PLLC and Mr. Houslanger are
                                                 6
        Case 1:18-cv-06936
        Case 1:24-cv-04108-ALC   Document
                            Document       3-32
                                     1 Filed      Filed Page
                                             12/05/18   05/30/24
                                                             7 of 31Page 7 of#:317
                                                                     PageID



each a debt collector within the meaning of 15 U.S.C. § 1692a(6).

20.         In the case at bar, Palisades alleged it was an assignee of the Platinum judgment, and

used Houslanger to collect on the judgment.

21.         Houslanger was an agent of Palisades acting within the course and scope of its agency in

seeking to collect the putative debt and resulting judgment from Mr. Levy. Therefore, Palisades

is jointly and severally liable for the acts taken by Houslanger on Palisades’ behalf. Palisades is

also directly liable for its own misconduct as the putative judgment creditor assignee.

22.         Houslanger and Palisades is liable for the misconduct of CPS because they were on

notice by way of the Mr. Levey’s Supplemental Order to Show Cause of the sewer service of

CPS. Despite the overwhelming evidence of sewer service, Palisades and Houslanger attempted

to retain the benefits of the misconduct of CPS (the judgment) by opposing the Mr. Levy’s

motion. Therefore Palisades and Houslanger ratified the misconduct of CPS and are liable by

ratification.

                               C.   STATEMENT OF FACTS

             FACTS SUPPORTING CLAIMS AGAINST S&S, CPS, AND PLATINUM

                     Entering default judgment based on a false affidavit of service
      23.
            On or about October 24, 2002, Platinum Financial Services Corp. LLC (“Platinum”),

through its collection law firm Selip and Stylianou LLP f/k/a Upton, Cohen and Slamowitz

(“SS”) filed a collections lawsuit in New York County Civil Court against now-Plaintiff Isaac

Levy. The suit was captioned Platinum Financial Services Corp. LLC vs. Isaac Levy, Index No.




                                                   7
       Case 1:18-cv-06936
       Case 1:24-cv-04108-ALC   Document
                           Document       3-32
                                    1 Filed      Filed Page
                                            12/05/18   05/30/24
                                                            8 of 31Page 8 of#:318
                                                                    PageID



CV-038127-02/NY (“the Collection Lawsuit”). See Exhibit A (Collection Lawsuit Complaint). 3

    24. The attorney-verified complaint vaguely alleged “that plaintiff entered into a credit card

agreement with plaintiff's predecessor in interest, providian bank;” and that he “defaulted in

payment and pursuant to the terms of agreement” and now “owes $1,438.85” with interest from

March 28, 2002. Id.

    25. In fact, Mr. Levy has never opened an account with Providian, Platinum’s alleged

“predecessor in interest.”

    26. Platinum and SS chose the process serving company Capital Process Servicers, Inc.

(“CPS, Inc.”) to execute an affidavit of service. Process server Gerald Murray, working for CPS,

Inc. (collectively “CPS”) swore before a Notary that on October 11, 2002 he served the

summons and complaint on Mr. Levy by delivering and leaving the documents with “a Jane Doe

Cotenant” a resident at Mr. Levy’s dwelling which he listed as 151 1st Ave #42 New York, NY

10003-2965. Mr. Murray states that the Jane Doe refused to give her name and he described her

as a 36-50 year old white female who was approximately 5’4”-5’8” tall and weighed 131-160

lbs. See Exhibit B (Affidavit of Service).

    27. In addition, Mr. Murray further attested that on October 15, 2002, he mailed a copy of the

summons and complaint to Mr. Levy at the same address, 151 1st Ave #42 New York, NY

10003-2965. Id.

    28. At the time of the alleged service, however, Mr. Levy was residing at 505 Johnson

Avenue, Unit 4, Brooklyn, NY where he lived from May 2002 to January 2004.



3 All Exhibits attached to this Complaint are incorporated by reference in their entirety.

                                                           8
      Case 1:18-cv-06936
      Case 1:24-cv-04108-ALC   Document
                          Document       3-32
                                   1 Filed      Filed Page
                                           12/05/18   05/30/24
                                                           9 of 31Page 9 of#:319
                                                                   PageID



    29. Prior to this address, Mr. Levy lived at 1024 Greene Ave., Brooklyn, NY from May 2000

to May 2002.

    30. Mr. Levy has never lived at the address CPS alleged service. Moreover, Mr. Levy has

never lived with anyone bearing the description of the “Jane Doe” Mr. Murray described. His

roommate was 24 years old and had black hair.

    31. Mr. Levy never received a copy of the collection lawsuit from Gerald Murray or any

other person.

    32. Both CPS, Inc. and Mr. Murray specifically are notorious for systematically executing

false affidavits of service.

    33. The New York City Department of Consumer Affairs subsequently forced Gerald Murray

to surrender his license in 2013 based on misconduct in allegedly serving process, including

falsifying affidavits of service. See Exhibit C (Gerald Murray Consent Order).

    34. CPS, Inc. has also been disciplined by the DCA for violations of DCA rules regulating

process servers. In February, 2013, CPS, Inc. entered into a consent order with DCA whereby

CPS, Inc. paid a $35,000 penalty and was required to adopt policies to protect against sewer

service. See Exhibit D (CPS Consent Order).

    35. Platinum and SS used the false affidavit of service to enter a default judgment against Mr.

Levy on December 15, 2003 for $1,748.47 plus 9 percent post judgment interest, or

approximately $4,100 as of the date of the filing of this FDCPA action. See Exhibit E (Default

Judgment).

     FACTS SUPPORTING CLAIMS AGAINST HOUSLANGER AND PALISADES


                                                9
       Case1:18-cv-06936
      Case  1:24-cv-04108-ALC  Document
                          Document 1 Filed3-32   FiledPage
                                           12/05/18    05/30/24
                                                           10 of 31Page 10 of#:31
                                                                    PageID      10



                                          No Notice of Assignment

36.      Mr. Levy never received, and on information and belief was never sent, a notice of

assignment of the judgment on either March 5, 2007 or October 11, 2007 when the judgment was

allegedly assigned from Platinum to Palisades Acquisition XV and from Palisades Acquisition

XV to Palisades Acquisition XVI or from Palisades Acquisition XVI to Palisades Collection

LLC. See Exhibit F (Palisades’ Opposition to OSC exhibits for bill of sale). 4

      37. Upon information and belief, Palisades and Houslanger took no steps to send a notice of

assignment or to take any steps to discover whether one had been sent in the past by any of the

other entities. Mr. Levy never received a notice of assignment from anyone regarding the

judgment or, indeed, regarding the underlying alleged debt.

      38. A condition precedent for an assignee of a putative debt (including assignments of

judgments) is for a notice of assignment to be sent and received by the putative debtor.

      39. Palisades understood the need to send a notice of assignment – it had stipulated for it in

the very contract with Platinum Financial Services Corporations by which it acquired Platinum’s

accounts: See Exhibit G (Securities and Exchange Commission Filing of Purchase and Sale

Agreement), ¶ 6.1 (requirement to “send to a Debtor to confirm that the Sellers [Platinum] sold

the Debtor’s Account to Buyer [Palisades].”

                               The Bank Freeze and Order to Show Cause

      40. On May 4, 2018, Mr. Levy and his wife had their first child, a baby girl. His wife and



4 The Palisades OSC Opposition attached a putative substitution of attorney notice, dated June 19, 2012, from SS to
Houslanger. The notice of substitution was never sent to Mr. Levy, nor does the document allege a copy was sent to
Mr. Levy.

                                                        10
      Case1:18-cv-06936
     Case  1:24-cv-04108-ALC  Document
                         Document 1 Filed3-32   FiledPage
                                          12/05/18    05/30/24
                                                          11 of 31Page 11 of#:31
                                                                   PageID      11



child were discharged from the hospital on May 7, 2018, and came home.

    41. Mrs. Levy was not working at that time to focus on their newborn daughter, so the family

was living off of the sole income of Mr. Levy. Fortunately Mr. and Mrs. Levy had saved in their

joint bank account a small nest egg for security for the future of their new family.

    42. But then came Houslanger and Palisades.

    43. On or about May 3, 2018, Houslanger executed an information subpoena and bank

restraint (the “Restraint”) and thereafter served it on Bank of America to restrain to Mr. Levy’s

joint account he had with his wife. See Exhibit H (Information Subpoena and Bank Restraint).

    44. The Restraint was (purportedly) personally signed by Mr. Houslanger. The restraint

stated that Platinum had obtained a judgment for $1,688.47 on December 15, 2003 and, with post

judgment interest, had a current balance of $3,832.25. 5 The Restraint demanded Bank of

America answer the Information Subpoena and impose a restraint of twice the amount of the

judgment ($7,664.50), on any bank accounts of Mr. Levy.

    45. As a result of the Restraint, Bank of America restrained Mr. Levy’s joint bank account

with his wife, against whom there was no judgment. The entire or nearly all of the restrained

money was exempt from restraint under the N.Y. Exempt Income Protection Act, N.Y. C.P.L.R.

5222, because it consisted of Mr. Levy’s wages from the 60 days prior to the restraint.

    46. On May 11, 2018, just before the close of business, Mr. Levy first learned of the

Restraint. Mr. Levy immediately called the bank to ask why his joint account was frozen. The

bank stated that the account was “on hold” due to a legal debt collection notice. The bank could

provide no additional information, and advised Mr. Levy to call a phone number 914.666.8100,


5 It is unknown why the Restraint stated in the Restraint was slightly less than the actual judgment, $1,688.47 as
opposed to $1,748.47, a difference of $60.00.

                                                         11
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         12 of 31Page 12 of#:31
                                                                  PageID      12



which was the number for the Houslanger firm.

   47. The restraint on Mr. Levy’s bank account occurred only a week after his daughter was

born. He spent the first months of his newborn child’s life worrying that a bank restraint, based

on a falsified affidavit of service over a debt he never incurred, could jeopardize his ability to

keep a roof over her head.

   48. When Mr. Levy called he was told that he had reached Houslanger and Associates but

they were closed for the weekend and would not be open until Monday.

   49. That weekend, due to the restraint, he and his young family had no access to the money

in their joint bank account, even to buy diapers for their new daughter.

   50. First thing Monday morning, May 14, 2018, Mr. Levy called the Houslanger office to try

to figure out what was going on, and spoke with someone identifying himself as “Jeff.” Jeff

asked Mr. Levy to confirm if his address was: 1322 Union Ave., Kansas City, Missouri. Mr.

Levy explained he had not lived in Kansas City for approximately 20 years.         Jeff stated the

account was for a 2003 Providian Visa Account, and asked if Mr. Levy had such account. Mr.

Levy indicated he had never had a Providian credit card. Mr. Levy requested all documents

related to the debt. Jeff replied that gathering the documents would take a month because the

debt was old and they did not have the paperwork. Jeff told Mr. Levy they would have to order

the paper work from NY State Courts. Jeff told Mr. Levy it would be much simpler for him to

just pay the debt to release his bank account.

   51. On or about May 20, 2018, Mr. Levy received correspondence from Bank of America

including containing, inter alia, the Restraint signed by Houslanger that was served on the bank.

   52. When Palisades and Houslanger served the Restraint on Bank of America, they knew and

                                                 12
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         13 of 31Page 13 of#:31
                                                                  PageID      13



intended for the bank to forward a copy of the same Mr. Levy as required by state law, which the

bank did.

    53. The Restraint was the initial communication from both Palisades and Houslanger to Mr.

Levy regarding the collection lawsuit and the lawsuit or the judgment.

    54. Prior to their issuance of the Restraint, neither Palisades nor Houslanger sent Mr. Levy a

letter with the disclosures required by 15 U.S.C. § 1692g of the FDCPA. Prior to the restraint on

his bank account, Mr. Levy received from no one – not Palisades, Houslanger, SS, Platinum,

Providian Bank, or anyone else – a notice of assignment of the putative debt or the putative

judgment. On information and belief, no such notice of assignment was ever sent to Mr. Levy

prior to the restraint of his joint bank account.

    55. By signing and serving the Restraint, Houslanger implicitly represented to Mr. Levy that

that an attorney meaningfully reviewed the facts and circumstances of the file and made a

reasoned professional determination that Houslanger had the right to issue the Restraint.

    56. However, if Houslanger had performed a meaningful review of Mr. Levy’s account they

would have determined whether a notice of assignment of the putative debt to Palisades was ever

sent; whether the amount claimed to be owed was correct; and whether a 1692g notice letter was

sent to Mr. Levy.

    57. Houslanger and Palisades both knew that Houslanger was required to perform a

meaningful attorney review, and that such a review specifically requires a determination whether a

notice of assignment of the putative judgment was sent to the consumer prior to their attempting

to collect on an assigned judgment. Houslanger and Palisades both knew of these requirements

because that was a holding in a case where both were defendants. Musah v. Houslanger &

Assocs., PLLC, 962 F. Supp. 2d 636, 641 (SDNY 2013) (“although ordinarily an attorney's

                                                    13
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         14 of 31Page 14 of#:31
                                                                  PageID      14



determination that there exists a valid judgment may obviate the need for further review of a case

file, in situations such as the instant case, where the judgment was assigned to a third party,

§1692e(3) requires that an attorney seeking to collect that judgment engage in a review of the

case file sufficient to determine that the judgment debtor received notice of the assignment”).In

Musah, the Court held that the consumer stated a claim against Houslanger by alleging

Houslanger did not check to see whether a notice of assignment was sent to the consumer prior

to Houslanger collecting on an assigned judgment.

   58. On or about May 15, 2018, Mr. Levy went to the New York Civil Court to attempt to

obtain the Court file. The staff informed him that the file was in the archives, that Mr. Levy

would have to order the file, and that it could be several weeks before the file would be received.

   59. Also on May 15, 2018 Mr. Levy, acting pro se, filed an Order to Show Cause on May 15,

2018, seeking to remove restraints, vacate the judgment, and discontinue the action. See Exhibit

I (Order to Show Cause).

   60. Later that day the Civil Court Judge, finding merit to the application, signed the Order to

Show Cause and set a Court date for May 29, 2018. See Exhibit I.

   61. Mr. Levy was given several copies of the documents including one to send to plaintiff’s

counsel (listed on the court docket sheet as Selip & Stylianou LLP) and one to bring to his bank

to request the bank lift the hold on his account.

   62. When Mr. Levy brought the Order to Show Cause to Bank of America asking to have the

hold released, they refused to lift the hold, telling him they could not do so without approval

from Houslanger.

   63. Mr. Levy’s bank account remained frozen, and he and his wife incurred overdraft fees
                                           14
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         15 of 31Page 15 of#:31
                                                                  PageID      15



from Bank of America.

    64. On May 29, 2018, Mr. Levy first appeared in Court and a per diem attorney entered an

appearance for Houslanger and Associates. The per diem attorney tried to pressure Mr. Levy to

settle in the hallway outside of court before the case had been heard. Mr. Levy would not agree

to pay the debt collector for judgment for a suit where he was never served, to collect a debt he

never owed. Mr. Levy explained to the judge that the account that was restrained was a joint

account with his wife, and that he deposited his wages into the account. The Court granted

Plaintiff’s application to remove restraints on his Bank of America account. The Court held the

judgment in effect and adjourned to August 8, 2018 to allow Mr. Levy time to respond to the

OSC Opposition submitted by Houslanger that day.

    65. However, Bank of America refused to comply with the May 29, 2018, order removing

restraints on his joint account.

    66. On or about June 1, 2018, with assistance from the CLARO program, 6 Mr. Levy sent a

Discovery demand to Houslanger.

    67. On June 11, 2018, Houslanger issued a Subpoena Duces Tecum to Chase Bank, N.A., to

obtain “any and all evidence” that Mr. Levy had established an account with Providian Bank. See

Exhibit J (Subpoena to Chase Bank). Response to the demand was due 7 days later. Providian

Bank dissolved approximately 14 years ago, and it is unclear why the subpoena was directed to

Chase.


6 The Civil Legal Advice and Resource Office (CLARO) provides limited legal advice to low-income New Yorkers
being sued by debt collectors. The CLARO Program’s volunteer lawyers meet with consumer, help them fill out
necessary court forms such as Orders to Show Cause, answers and discovery demands, and provide general advice
as to the court process. Unfortunately, CLARO cannot represent the consumers in court.

                                                     15
        Case1:18-cv-06936
       Case  1:24-cv-04108-ALC  Document
                           Document 1 Filed3-32   FiledPage
                                            12/05/18    05/30/24
                                                            16 of 31Page 16 of#:31
                                                                     PageID      16



       68. A month later, on July 11, 2018, Mr. Levy received a letter from Houslanger dated July

3, 2018, enclosing two copies of a stipulation discontinuing action and mutual release.

       69. Houslanger informed Mr. Levy that their client had decided to drop the case “due to the

passage of time beyond the retention period of the original creditor,” and “the inability to obtain

witnesses and documents to support the underlying claim.” See Exhibit K (Houslanger Letter

with Stipulation Vacating). Apparently Houslanger received no documents in response to the

subpoena to support its claim, and had none to provide Mr. Levy in response to his document

production demand. Indeed, Defendants never provided documents in response to Mr. Levy’s

production demand.

       70. Houslanger’s July 3, 2018 letter affirmatively represented to Mr. Levy – as it would to

any consumer, least sophisticated, reasonable, or otherwise – that Houslanger and Palisades, who

received the Supplemental OSC and hundreds of pages of exculpatory exhibits, was forthrightly

admitting it had no evidence to support its claims and providing Mr. Levy what he had asked for

in vacating the judgment and dismissing the case.

       71. By use of the cover letter, along with the dense language of the Stipulation Vacating

Judgment, Houslanger and Palisades did everything they could to obfuscate the fact that the

Stipulation would release any claims Mr. Levy may – and does – have against Houslanger and

Palisades, as well as allow them to keep the restrained funds. 7



7
    The full text of the Stipulation Vacating Judgment states, after the caption of the action, the following:
IT IS HEREBY STIPULATED AND AGREED, by and between the Attorney for the Plaintiff/Judgment Creditor
and the Defendant/Judgment Debtor herein:

1. Due to the passage of time beyond the retention period of the original creditor, and due to the inability to obtain
witnesses and documents to establish the underlying claim, the Judgment entered by the Clerk of the Civil Court
                                                             16
      Case1:18-cv-06936
     Case  1:24-cv-04108-ALC  Document
                         Document 1 Filed3-32   FiledPage
                                          12/05/18    05/30/24
                                                          17 of 31Page 17 of#:31
                                                                   PageID      17



    72. Paragraph 1 of the Stipulation Vacating Judgment certainly comport with the cover letter

in that Houslanger and Palisades are vacating the default judgment and releasing any bank

restraints or garnishments because they admit they have no evidence to support their claims. The

first paragraph, written in fairly straightforward language states the judgment is being vacate

“due to the inability to obtain witnesses and documents to establish the underlying claim.”

Likewise, Paragraph 2 is fairly short, and dismisses the lawsuit without limiting the rights of the

consumer. 8




of the City of New York, County of New York on December 15,2003 in the sum of $1,748.47 in the above entitled
action is hereby vacated and all bank restraints, income executions and all other judgment enforcement
remedies are hereby vacated..

2. The parties further agree that the above entitled action, and any counterclaims, if any, be and the same is hereby
discontinued with prejudice, and without costs to either party as against the other. Any Orders to Show Cause or
pending Motions are hereby withdrawn with prejudice.

3. Upon execution of this stipulation, the current Judgment Creditor, Palisades Collection, LLC, the assignee of
Platinum Financial Services Corp., the assignee of Providian Bank, shall cease all collection and judgment
enforcement remedies regarding the Account (ending in 4610), including any and all related fees, charges,
interest, or monies, and further agree to release and forever discharge all claims, demands, liabilities, damages or
losses against Defendant, his heirs, assigns, co-signors, and/or guarantors, agents, and attorneys, related to the
Account, from the beginning of time to the date of execution of this agreement by all parties; and likewise,
Defendant, Isaac Levy, upon the execution of this Stipulation, shall release and forever discharge Palisades
Collection, LLC, Platinum Financial Services Corp., Providian Bank, Houslanger & Associates, PLLC, its
former, present and future parents, subsidiaries and/or affiliates, whether direct or indirect, and any and all
former, present and future officers, directors, employees, representatives, predecessors, successors, agents,
attorneys, independent contractors or assigns, from any and all claims, demands, liabilities, damages, losses or
expenses relating to the account and attempts to collect same, including any and all alleged improper debt
collection acts, including claims alleged to be based upon federal FDCPA and/or other New York laws which
may govern the collection of debts, from the beginning of time to the date of execution of this agreement by
all parties. Any sums previously received, if any, may be retained by the Plaintiff.
4. It is further stipulated that a facsimile copy may be submitted to the Court in lieu of the original and that
Plaintiff's counsel shall submit this stipulation to the Court on behalf of both sides.
8 There is a phrase that the consumer dismisses “any counterclaims, if any.” However, given the case was closed
because of the entry of the default judgment, a consumer would be precluded from filing a counterclaim. Even if the
judgment was vacated and the case was restored to the calendar, it is extremely a pro se consumer would file a
counterclaim or even know she had a right to do so. Lastly, even in the unlikely even a counterclaim was filed, and
the counterclaim dealt with the debt collection practices of the plaintiff in the collection lawsuit, a dismissal of such
                                                           17
      Case1:18-cv-06936
     Case  1:24-cv-04108-ALC  Document
                         Document 1 Filed3-32   FiledPage
                                          12/05/18    05/30/24
                                                          18 of 31Page 18 of#:31
                                                                   PageID      18



    73. However, paragraph 3 is an entirely different matter.

    74. The first sentence of paragraph 3 goes on for an incredible 13 lines and is some of the

most dense, convoluted, legalese imaginable. There are no less than 53 commas in this

labyrinthine first sentence, creating 8 lists which are full of obviously obtuse and unnecessary

phrases like “its former, present and future parents, subsidiaries and/or affiliates, whether

direct or indirect, and any and all former, present and future officers, directors, employees,

representatives, predecessors,         successors,     agents, attorneys, independent           contractors      or

assigns.” The purpose of this language is to conceal from any pro se consumer, least

sophisticated or otherwise, that the consumer is releasing any rights she may have against

Palisades, but also non-parties including Mr. Houslanger.

    75. To the degree that the first 6 lines are intelligible to a lay consumer, it states that

Houslanger and Palisades cease all collection and judgment enforcement remedies regarding the

putative debt. Of course the vacating of the judgment means, by definition, the judgment cannot

be enforced, and the discontinuance with prejudice means, by definition, that the putative debt

cannot be collected upon.

    76. There is no purpose for the first six lines other than to obfuscate lines 7 – 13: it merely

restates what is agreed to elsewhere. Lines 7-13, in even more dense language, would release

very real claims Mr. Levy has against Houslanger and Palisades that are brought by way of this

action.

    77. The purpose of the letter and the Stipulation Vacating Judgment is to dupe pro se


a counterclaim would not affect the rights a consumer would have against Houslanger, who is not a party to the
collection lawsuit and thus is not susceptible to being sued in a counterclaim.

                                                        18
      Case1:18-cv-06936
     Case  1:24-cv-04108-ALC  Document
                         Document 1 Filed3-32   FiledPage
                                          12/05/18    05/30/24
                                                          19 of 31Page 19 of#:31
                                                                   PageID      19



consumers into releasing the very rights the FDCPA was designed to protect. Whether Mr. Levy

was ultimately duped is immaterial as both GBL 349 and the FDCPA use an objective standard

to determine whether a communication is deceptive that does not turn on the subjective

understanding of the consumer.9

    78. Further a pro se consumer may not notice the clause that he has “withdrawn with

prejudice” the Order to Show Cause. While Mr. Levy had his funds released in the June 2018

order, other consumers who had their wages garnished or bank account funds seized would

unknowingly forfeit those funds.

    79. While Mr. Levy was able to see through Houslanger’s deceit, the consequences of not

signing the stipulation hung over Mr. Levy’s head. He understood there was the possibility that

the judgment may not be vacated, and that they would be able to garnish thousands of dollars

from him for a debt he did not actually owe. This was an enormous pressure on Mr. Levy. He

desperately needed that money to pay rent as well as to support his wife and newborn child.

    80. On July 16, 2018, with the assistance of CLARO, Mr. Levy filed a supplement to his

Order to Show Cause. See Exhibit L (Supplemental Order to Show Cause).




9 The FDCPA was designed for the protection of all consumers, “even the naive and the trusting, against deceptive
debt collection practices.” Whether a debt collector complies with the FDCPA is determined from the perspective of
the “least sophisticated consumer.” Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir.1993). The Second Circuit
applies an objective test based on the understanding of the “least sophisticated consumer” in determining whether a
communication is “false, deceptive or misleading” under 15 U.S.C. 1692e and its subsections. Id. “The basic
purpose of the least-sophisticated-consumer standard is to ensure that the FDCPA protects all consumers, the
gullible as well as the shrewd.” Id. at 1318. The standard “protects the naive and the credulous” Id. at 1319.
Jacobson v. Healthcare Fin. Servs., 516 F.3d 85, 91 (2d Cir. 2008) (“[i]n this way, the FDCPA enlists the efforts of
sophisticated consumers like [plaintiff] as ‘private attorneys general’ to aid their less sophisticated counterparts, who
are unlikely themselves to bring suit under the Act, but who are assumed by the Act to benefit from the deterrent
effect of civil actions brought by others.”).

                                                          19
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         20 of 31Page 20 of#:31
                                                                  PageID      20



   81. The Supplemental OSC was accompanied by an extensive record that would leave the

merits of the motion beyond doubt:

   -   Exhibit 1: phone bills from October 2002, November 2002, and January 2004 identifying
       505 Johnson Avenue, Apt. 4, Brooklyn, NY 11237 as the address for Mr. Levy.
   -   Exhibit 2: electric bills from January 2004 identifying 505 Johnson Avenue as the
       address for Mr. Levy.
   -   Exhibit 3: communications from Mr. Levy’s landlord from January 2003 and November
       2003 both identifying 505 Johnson Avenue as the address for Mr. Levy.
   -   Exhibit 4: 1099-MISC from 2002 identifying 505 Johnson Avenue as the address for Mr.
       Levy.
   -   Exhibit 5: a lease agreement from July 1, 2000 to June 30, 2001, identifying Mr. Levy as
       the tenant and 1024 Greene Avenue, Brooklyn, New York 11221 as the apartment.
   -   Exhibit 6: rent payment receipts identifying payer as Mr. Levy and his address as 1024
       Greene Avenue.
   -   Exhibit 7: the 100+ record on Gerald Murray from the NYC Department of Consumer
       Affairs including but not limited the Department’s order for Murray to immediately
       surrender his license.

   82. Mr. Levy’s proof of sewer service was uncontestable and, as will be seen, uncontested.

No doubt Houslanger would drop the lawsuit and agree to vacate the judgment given this

overwhelming proof.

   83. That, of course, was not the case.

   84. At the next Court appearance, on August 8, 2018, Houslanger and Palisades continued to

pressure Mr. Levy to sign the Stipulation that included the language releasing claims against

them. Fortunately Mr. Levy was able to get the Court to rule on his application. Mr. Levy also

informed the Court that Houslanger and Palisades had produced no documents in response to his

May 31, 2018 document demands. The Court granted Plaintiff’s application in its entirety,

discontinued the action with prejudice, and ordered any previously restrained funds to be

returned.

                                              20
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         21 of 31Page 21 of#:31
                                                                  PageID      21



    HOUSLANGER AND ITS CLIENTS SYSTEMATICALLY SEEK TO GUT
PROTECTIONS UNDER THE FDCPA WITH THEIR PATTERN AND PRACTICE OF
ATTEMPTING TO DUPE, AND IF UNSUCCESSFUL TO STRONG-ARM, A MUTUAL
                             RELEASE
    Gutting FDCPA protections by systematically requiring releases for the debt collector

   85. In recent years, Legal Services attorneys representing low-income consumers have seen

Houslanger demand all consumers, who are seeking to vacate a default judgment or to

discontinue an action, sign these mutual releases that include language that is identical or

substantially similar to the language used with Mr. Levy. The mutual release is demanded no

matter how strong the evidence is that the judgment was entered by way of a false affidavit of

judgment, was for a debt that was not owed or was time barred, or was for the collection of an

assigned judgment for which no notice of assignment was sent, among other possible consumer

claims or defenses. Houslanger, on behalf of itself and putative judgment creditor clients such as

Palisades, is attempting to eviscerate the very protections the FDCPA was enacted to provide.

Pro se consumers are duped or pressured by Houslanger (and its clients) into signing releases of

claims. They hold over the consumers’ heads the threats that Houslanger may prevail at the OSC,

and that the consumer will then lose the restrained money in their bank accounts, or that, for 20

years from the date of the entry of judgment, that their wages will be garnished and bank

accounts restrained in the future.

   BARBARA STINSON: another consumer Houslanger attempted to dupe, and, when
                  unsuccessful, attempted to strong-arm.

   86. The Stipulations Vacating Judgment are form documents that debt collection law firms

such as Houslanger as well as debt-buyer plaintiffs in collection lawsuits use as a matter of

course.


                                               21
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         22 of 31Page 22 of#:31
                                                                  PageID      22



   87. For example, shortly before filing this action the undersigned filed a separate action in

the Southern District of New York against Houslanger for essentially doing to another consumer

what it did to Mr. Levy. The action is captioned Barbara Stinson v. Houslanger & Associates,

PLLC, et al.

   88. Putative assignee-creditor DEMI, through its debt collection law firm Houslanger, sued

Ms. Stinson for debt she never owed and obtained a default judgment by use of a false affidavit

of service. See Exhibit M (Stinson Collection Lawsuit).

   89. Ms. Stinson first learned of the lawsuit filed by DEMI when, thirteen years after the

lawsuit was filed, Houslanger attempted to garnish her wages.

   90. Ms. Stinson, pro se, filed an Order to Show Cause (“OSC”) to vacate the default

judgment. In the OSC, Ms. Stinson documented with a death certificate that her son who

allegedly served was, in fact, dead; and documented with W-2 tax forms, pay stubs, DMV

records, and voter registration documents that she had not resided for years at the address where

she was allegedly served. See Exhibit N (Stinson OSC).

   91. Further, Defendants DEMI and Houslanger admitted in writing they had no evidence to

establish the existence of the putative debt. See Exhibit O (Stinson Houslanger Letter).

   92. In the face of this irrefutable and undisputed evidence supporting the vacature of the

default judgment and dismissal of the collection lawsuit, Defendants DEMI and Houslanger

attempted to dupe Ms. Stinson into signing a Stipulation Vacating Judgment “so that you may

avoid the further inconvenience of coming to Court.” See Exhibit O.

   93. Just as with Mr. Levy, the Stipulation buried the same release of potential claims Ms.

Stinson may have against the Defendants in the 7th line of a 13-line long sentence made up of
                                             22
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         23 of 31Page 23 of#:31
                                                                  PageID      23



dense legal jargon difficult for any consumer to parse through. See Exhibit O.

    94. When Ms. Stinson refused to release any claims she might have, Defendants DEMI and

Houslanger forced her to once again go to court and opposed her order to show cause. Just as

with Mr. Levy’s bank restraint, Defendants held over Ms. Stinson’s head that they could

continue to garnish her wages if Ms. Stinson, pro se, lost her motion to vacate the default

judgment.

    95. Ultimately, the state court judge issued a ruling vacating the judgment and dismissing the

lawsuit finding that, in fact, Ms. Stinson was never served.

    96. By forcing Ms. Stinson to obtain the death certificate of her son, who died when he was

only three years old, in order to prove she was never served, Defendants made Ms. Stinson relive

the extreme trauma of a mother losing her child.

 WANDA CEPEDA: a consumer with a sewer service judgment successfully strong-armed by
                   Houslanger to release her potential claims

    97. Houslanger engaged in similar deceptive conduct in the action Colonial Credit

Corporation v. Wanda Then, CV-030370-05/NA in the District Court of Nassau County.

    98. Ms. Cepeda was alleged to have been served by “nail and mail” service on November 9,

2005. However, Ms. Cepeda was never served in this matter, and the allegations regarding

service were false. Further, Ms. Cepeda did not owe any debt to the Plaintiff. It allegedly arose

from a fitness club which Ms. Cepeda never belonged to. Ms. Cepeda had previously been a

victim of identity theft.

    99. On or about February 14, 2006 a default judgment was entered against Ms. Cepeda in the

amount of One Thousand Three Hundred Seventy-Five Dollars and Thirty-Seven Cents.

                                                23
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         24 of 31Page 24 of#:31
                                                                  PageID      24



   100.        As with Mr. Levy, Ms. Cepeda’s bank account was frozen by Houslanger on

behalf of the debt buyer Palisades, who had allegedly been assigned the debt by Colonial Credit

Corporation.

   101.        Ms. Cepeda never received either a copy of the judgment or the notice of entry of

the judgment. She did not learn about the lawsuit until November of 2017 when after a failed

attempt to withdraw funds she realized her bank account was frozen.

   102.        Just as with Mr. Levy, the Affidavit of Service was falsified. The process server

did not describe any attempt whatsoever to locate a place of employment for Ms. Cepeda.

Instead, the affidavit claimed that a neighbor allegedly consulted, “Jane” Powell, did not know

Ms. Cepeda’s place of employment. Ms. Cepeda did not know of any neighbors at that address

with the last name Powell. All attempts at service were made on weekdays; no weekend attempts

were made. The address given was not where Ms. Cepeda resided at the time of service and had

not lived at that address for nearly two years. She did not even reside in the same state as the

address given: she resided in Maryland, not New York, at the time of the alleged service.

   103.        The process server had no reason to believe that Ms. Cepeda still resided at the

address in the affidavit. Ms. Cepeda had updated her address with the Maryland DMV, the New

York DMV, and the post office when she had moved. She then updated her address again when

she moved from Maryland to Florida with the Florida DMV and the post office.

   104.        In the Supplemental Affidavit, Ms. Cepeda swore that she moved on or around

December 2004 from the address allegedly served (1 Holland Avenue, Elmont, NY) to 47

Golden Ave., Deer Park, NY. She then moved to Maryland on or around August 2005, and

resided there on the date of alleged service (November 9, 2005). Lastly the name used in the

                                               24
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         25 of 31Page 25 of#:31
                                                                  PageID      25



affidavit of service, “Wanda Then,” had not been used by Ms. Cepeda since 2002.

   105.        Ms. Cepeda provided the following documents to establish that the address in the

affidavit was incorrect:

               a. Exhibit 1: Maryland DMV record confirming that Ms. Cepeda resided in
               Maryland at the time of service of process.
               b. Exhibit 2: New York DMV record confirming that Ms. Cepeda no longer lived
               at the address at the time service was allegedly made.
               c. Exhibit 3: Verification that Ms. Cepeda had been the victim of identity theft
               from the Internal Revenue Service.

   106.        The case was an unmistakable instance of sewer service. Houslanger did not file a

response to the OSC because they had nothing to rebut the overwhelming documentary evidence

Ms. Cepeda presented, and by their own admission they did not have the documents or witnesses

necessary to prove this claim.

   107.        On February 20, 2018, Ms. Cepeda entered into the same Mutual Stipulation with

Houslanger that Ms. Stinson entered into. Ms. Cepeda was pressured into entering into this

agreement while she was out of the country and thus dependent on her then-frozen bank account

for any money. Just as with Mr. Levy and Ms. Stinson, Houslanger buried deep in the third

paragraph, in the 7th line of a 13 line single sentence, a release of any FDCPA or other claims

Ms. Cepeda may have against Houslanger and Palisades.

                           D. COUNT 1: FAIR DEBT COLLECTION PRACTICES ACT
                              (as to all Defendants)
   108.        Plaintiff repeats and realleges each and every allegation set forth above as if

reasserted and realleged herein.

   109.         The purpose of the FDCPA is “to eliminate abusive debt collection practices by

debt collectors, to insure that those debt collectors who refrain from using abusive debt
                                            25
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         26 of 31Page 26 of#:31
                                                                  PageID      26



collection practices are not competitively disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § 1692(e); see also Hamilton v.

United Healthcare of La., Inc., 310 F.3d 385, 392 (5th Cir. 2002) (“Congress, through the

FDCPA, has legislatively expressed a strong public policy disfavoring dishonest, abusive, and

unfair consumer debt collection practices, and clearly intended the FDCPA to have a broad

remedial scope.”).

   110.         Congress designed the FDCPA to be enforced primarily through private parties –

such as plaintiff – acting as “private attorneys general.” See S. Rep. No. 382, 95th Con., 1st

Sess. 5, (“[t]he committee views this legislation as primarily self-enforcing; consumers who have

been subject to debt collection abuses will be enforcing compliance”); and Jacobson v.

Healthcare Fin. Servs., 516 F.3d 85, 91 (2d Cir. 2008) (“[i]n this way, the FDCPA enlists the

efforts of sophisticated consumers like [plaintiff] as ‘private attorneys general’ to aid their less

sophisticated counterparts, who are unlikely themselves to bring suit under the Act, but who are

assumed by the Act to benefit from the deterrent effect of civil actions brought by others.”).

   111.         The obligation alleged to be owed by plaintiff is a “debt” as defined by 15 U.S.C.

§ 1692a(5) because the putative credit card debt was incurred primarily for family, personal or

household purposes.

   112.         Palisades and Houslanger admit in their verified complaint that the putative debt

arose from a “consumer credit transaction.”

   113.         For the reasons stated in the “Parties” section of this Complaint, each Defendant

is a debt collector within the meaning of 15 U.S.C. § 1692a(6).

   114.         Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) because Plaintiff
                                                26
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         27 of 31Page 27 of#:31
                                                                  PageID      27



was alleged to owe a “debt.”

   115.        Defendants violated the following sections of the FDCPA: 15 U.S.C. §§ 1692e

and 1692f. By way of example and not limitation, Defendants violated the FDCPA by taking the

following actions in an attempt to collect a debt or in connection with an attempt to collect a

debt: using false, deceptive or misleading representations or means; misrepresenting the

character, amount, or legal status of the debt; threatening to take and actually taking an action

prohibited by law; using unfair or unconscionable means; and collecting or seeking to collect any

amount (including any interest, fee, charge, or expense incidental to the principal obligation)

unless such amount is expressly authorized by the agreement creating the debt or permitted by

law. Defendants also engaged in unfair or unconscionable litigation in violation of 15 U.S.C. §

1692f by unduly prolonging the legal proceedings in bad faith and requiring Plaintiff to appear at

unnecessary hearings. Arias v. Gutman, Mintz, Baker & Sonnenfeldt LLP, 875 F.3d 128, 138 (2d

Cir. 2017).

   116.        Because the bank restraint was the initial communication between the Defendants

and Mr. Levy, Houslanger did not provide Mr. Levy the required disclosures under the FDCPA,

specifically 15 USC 1692g(a), either in the initial communication or within 5 days of the initial

communication. These disclosures are particularly important here. Had Houslanger provided the

required disclosure before executing on the nonexistent judgment, Mr. Levy would have been

able to invoke his rights under 15 USC 1692g(b) to have sent a written dispute and demanded

that Palisades and Houslanger Defendants cease collections, verify the validity of the vacated

judgment, and provide a copy of the judgment. Had Mr. Levy had the opportunity to invoke his

rights in this way, it is possible that a meaningful investigation by the Palisades and S&L,


                                               27
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         28 of 31Page 28 of#:31
                                                                  PageID      28



including searching for and providing a copy of the putative judgment, would have disclosed that

the judgment had been vacated before Defendants actually removed funds from Ms. Hunter’s

accounts.

                           E.   COUNT 2: NEW YORK GENERAL BUSINESS LAW
                                SECTION 349 ET SEQ.

                                      (as to all Defendants )
       122.    Plaintiff repeats and re-alleges each and every allegation set forth above as if

            reasserted and re-alleged herein.

   123.        New York General Business Law Section 349(a) prohibits "deceptive acts or

practices in the conduct of any business, trade, or commerce, or in the furnishing of any service

in this state…”

   124.        An individual “injured by reason of any violation of this section may bring an

action in his own name to enjoin such unlawful act or practice, an action to recover his actual

damages or fifty dollars, whichever is greater, or both such action.” N.Y. Gen. Bus. Law §

349(h). An individual may also be awarded punitive damages.

   125.        As enumerated in the Statement of Facts, Defendants violated N.Y. Gen. Bus.

Law § 349 et seq. by using deceptive acts and practices in the conduct of their businesses that

have broad impact on consumers at large.

   126.        Defendants’ wrongful and deceptive acts caused injury and damages to Plaintiff.

   127.        As a direct and proximate result of those violations of N.Y. Gen. Bus. Law § 349

et seq, Plaintiff suffered compensable harm and is entitled to preliminary and permanent

injunctive relief, and to recover actual, treble, exemplary, and punitive damages, together with

                                                28
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         29 of 31Page 29 of#:31
                                                                  PageID      29



costs and attorney’s fees.

                             F.    COUNT 3: CONVERSION (as to Houslanger and Palisades)

   128.        Plaintiff repeats and realleges each and every allegation set forth above as if

reasserted and realleged herein.

   129.        The elements of conversion in New York State include: 1) having a possessory

interest in property; and 2) having the possessory interest taken or interfered with by another in a

manner that is contrary to the possessor’s rights.

   130.        Property subject to conversion includes, inter alia, readily identifiable funds

garnished from wages.

   131.        Defendants Houslanger and Palisades intentionally and without authority,

assumed and exercised control over Plaintiff’s wages and money, interfering with his right to

possession of the same, by continuing to collect in violation of the order staying collection and,

moreover, by willfully refusing to comply with a court order to return the previously garnished

funds forthwith.

   132.        The improper restraint by Defendants Houslanger and Palisades of Plaintiff’s

money without qualification, which harmfully interfered with Plaintiff’s rights to control his own

property, constitutes conversion.

   133.        For the reasons stated in the statement of facts, the conduct of Defendants

Houslanger and Palisades is gross, wanton or deliberate and demonstrates a high degree of moral

culpability. Further, said Defendants conduct as alleged in the statement of facts demonstrates

malice, insult, and/or willful or reckless disregard of Plaintiff’s rights, or other aggravated acts


                                                 29
     Case1:18-cv-06936
    Case  1:24-cv-04108-ALC  Document
                        Document 1 Filed3-32   FiledPage
                                         12/05/18    05/30/24
                                                         30 of 31Page 30 of#:31
                                                                  PageID      30



by said Defendants. For these reasons, Plaintiff is entitled to punitive damages, in addition to

actual damages against Defendants Houslanger and Palisades.

                               G.    COUNT 3: NY JUDICIARY LAW § 487 (as to S&S and
                                     Houslanger)

    134.            New York Judiciary Law § 487 creates a private right of action against an

attorney or counselor who “[i]s guilty of any deceit or collusion, or consents to any deceit or

collusion, with intent to deceive the court or any party;” or “willfully receives any money or

allowance for or on account of any money which he has not laid out, or becomes answerable

for.”

    135.            As enumerated in the Statement of Facts, the S&S and Houslanger violated

Judiciary Law § 487.

    136.            Plaintiff is entitled to actual damages, treble damages, and attorneys’ fees and

costs for the violations of N.Y. Judiciary Law § 487, and Plaintiff so seeks.

                               H.    JURY DEMAND.

        137.        Plaintiff demands a trial by jury.

                               I.    PRAYER

        138.        WHEREFORE, Plaintiff requests the following relief:

               a.          A declaration that all Defendants have committed the violations of law

        alleged in this action;

               b.          Statutory damages under 15 U.S.C. § 1692k and GBL 349;

               c.          Reasonable attorney’s fees and costs;

                                                         30
    Case1:18-cv-06936
   Case  1:24-cv-04108-ALC  Document
                       Document 1 Filed3-32   FiledPage
                                        12/05/18    05/30/24
                                                        31 of 31Page 31 of#:31
                                                                 PageID      31



            d.        Actual damages;

            e.        Treble damages;

            f.        Exemplary and punitive damages;

            g.        An order, pursuant to GBL 349(h), enjoining and directing Defendants to

      cease violating that statute;

            h.        Prejudgment and post judgment interest as allowed by law;

            i. All other relief, in law and in equity, both special and general, to which Plaintiff

      may be justly entitled.

Dated: Brooklyn, New York
       December 5, 2018
                                      Respectfully submitted,

                                      /s/

                                      Ahmad Keshavarz
                                      The Law Office of Ahmad Keshavarz
                                      16 Court St., 26th Floor
                                      Brooklyn, NY 11241-1026
                                      Phone: (718) 522-7900
                                      Fax: (877) 496-7809
                                      Email: ahmad@NewYorkConsumerAttorney.com




                                               31
